      Case 2:20-cv-02150-MLCF-DPC Document 51 Filed 08/18/20 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

4 ACES ENTERPRISES, LLC D/B/A                 )       Civil Action No. 2:20-cv-02150
4 ACES LOUNGE, ET AL.                         )
                                              )       District Judge Martin L.C. Feldman
                                              )
VERSUS                                        )       Magistrate Judge Donna Phillips
                                                      Currault
                                              )
GOVERNOR JOHN BEL EDWARDS                     )
and H. “BUTCH” BROWNING, JR.                  )       JURY DEMAND


              NOTICE OF EXPEDITED APPEAL TO THE FIFTH CIRCUIT

       Notice is hereby given that Plaintiffs, (i) Big Tyme Investments, LLC d/b/a Big Daddy’s

Pub & Grub, (ii) CD Enterprises of Houma LLC d/b/a Larussa’s Lounge, (iii) JOM LLC d/b/a Just

One More, (iv) LongShotz 1, LLC d/b/a Longshotz, (v) Paradise Sports Bar & Daiquiris, LLC

d/b/a Epic Lounge, (vi) R&J Lapeyrouse, LLC d/b/a Jeaux’s New Horizon, (vii) R. Heasley, LLC

d/b/a Ram Rod’s Saloon, (viii) Tap Dat, L.L.C. d/b/a The Brass Monkey, (ix) The Music Cove,

LLC, and (x) The Outer Limits Bar, LLC, appeal to the United States Court of Appeals for the

Fifth Circuit from the Order denying Plaintiffs’ motion for preliminary and permanent injunctive

relief (ECF No. 50) entered in this action on the 17th day of August, 2020. Pursuant to Fed. R.

App. P. 2 and 5th Cir. R. 34.5, Plaintiffs will be filing a Motion to Expedite Appeal with the Fifth

Circuit.

DATED: August 18, 2020                Respectfully submitted,

                                      FAIRCLOTH MELTON SOBEL & BASH, LLC


                                      By:     /s/ Jimmy R. Faircloth, Jr.
                                              Jimmy R. Faircloth, Jr.     (T.A.) (La. #20645)
                                              jfaircloth@fairclothlaw.com
                                              Barbara Bell Melton                (La. # 27956)
                                              bmelton@fairclothlaw.com

                                                  1
      Case 2:20-cv-02150-MLCF-DPC Document 51 Filed 08/18/20 Page 2 of 2




                                               Mary Katherine Price            (La. #38576)
                                               kprice@fairclothlaw.com
                                               Richard F. Norem, III           (La. #38849)
                                               enorem@fairclothlaw.com
                                               105 Yorktown Drive
                                               Alexandria, Louisiana 71303
                                               Telephone: (318) 619-7755
                                               Facsimile: (318) 619-7744

                                               ATTORNEYS FOR PLAINTIFFS



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I presented the above and foregoing Plaintiffs’ Notice of Appeal

to the Fifth Circuit for filing and uploading to the CM/ECF system which will send electronic

notification of such filing to all counsel of record.

        Alexandria, Louisiana, this 18th day of August, 2020.


                                     /s/ Jimmy R. Faircloth, Jr.
                                           OF COUNSEL




                                                   2
